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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


DORAN SCHMIDT, Individually; and
SAGE SCHMIDT, a minor, by and
through Doran Schmidt, her natural                                8:13CV143
mother and next friend;

                     Plaintiffs,                              AMENDED JUDGMENT

        vs.

BELLEVUE MEDICAL CENTER L.L.C.,

                     Defendant.


        Based upon the jury’s verdict, and the Court’s Memorandum and Order of this

date,

        IT IS ORDERED:

        1. The Court’s Judgment of August 6, 2015 (Filing No. 250) is amended as

follows: Judgment is entered in favor of Sage Schmidt, a minor, by and through Doran

Schmidt, her natural mother and next friend, Plaintiff, and against Bellevue Medical

Center, L.L.C., Defendant, in the amount of one million seven hundred fifty thousand

dollars ($1,750,000.00), plus post-judgment interest at the rate of 0.33 percent per

annum, accruing from August 6, 2015; and

        2. The Stay of Judgment (Filing No. 262) is lifted.


        Dated this 25th day of November, 2015

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  Chief United States District Judge
